                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
                       v.                            )       NO. 3:10-CR-00004-2
                                                     )       Judge Campbell
KATHY MEDLOCK                                        )

                      ORDER OF FORFEITURE CONSISTING OF
                       $457,730.12 UNITED STATES CURRENCY
                  MONEY JUDGMENTS AND ORDER OF FORFEITURE
                    AS TO COUNTS ONE THROUGH THIRTY-NINE

       Based on the Defendant Kathy Medlock’s conviction, the evidence already in the record

and the additional evidence or information submitted by the parties and the facts set forth at the

sentencing hearing in this matter, the Court finds as follows:

       WHEREAS, July 27, 2011, the Government filed a forty-two count Second Superseding

Indictment charging Defendant Medlock in pertinent part, with the following offenses: Count

One, 18 U.S.C. § 371 (conspiracy to commit health care fraud and make false statements related

to health care matters); Counts Two through Nineteen, 18 U.S.C. §§ 1347 and 2 (health care

fraud); Counts Twenty through Thirty-Seven, 18 U.S.C. §§ 1035 and 2 (false statements relating

to health care matters); and Counts Thirty-Eight and Thirty-Nine, 18 U.S.C. §§ 1343 and 2 (wire

fraud relating to health care fraud);

       WHEREAS, the forfeiture allegation of the Second Superseding Indictment gave notice

pursuant to 18 U.S.C. § 982(a)(7) that upon conviction of the Federal Health Care offenses

alleged in Counts One through Thirty-Nine, Defendant Medlock shall forfeit any property, real

or personal, constituting, or derived from, directly or indirectly, the gross proceeds traceable to

the commission of the respective offense(s) and the scheme or artifice to defraud in relation to




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said counts. The property to be forfeited included but was not limited to a money judgment in an

amount of approximately $457,730.12 United States currency which represents proceeds of the

Federal Health Care offenses;

       WHEREAS, the forfeiture allegation of the Second Superseding Indictment also gave

notice to Defendant Medlock that in the event any property subject to forfeiture, including but

not limited to a money judgment, as a result of any act or omission of KATHY MEDLOCK:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property that cannot be divided without
                       difficulty,

the United States shall be entitled to forfeiture of substitute property and intends, pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), to seek

forfeiture of any other property of Defendant Medlock up to the value of the forfeitable property;

       WHEREAS, on May 31, 2013, a jury convicted Defendant Medlock of Counts One

through Forty-two of the Second Superseding Indictment;

       WHEREAS, a related civil forfeiture action involving proceeds of the Medlock’s crimes

resulted in forfeiture to the United States of various assets in the case of United States of

America v. 2005 Chevrolet Corvette Bearing VIN #1G1YY34U355129010, et al., No. 3:09-CV-

01143, (“Civil Action”); and

       WHEREAS, a final accounting of the amount forfeited and the amount to be paid to

TennCare and Medicaid is not yet determined in the Civil Action.




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        NOW THEREFORE, based upon Defendant Medlock’s conviction, this Court makes the

following findings:

       1.      There is a preponderance of the evidence that the proceeds of Counts One through

Thirty-Nine to which Defendant Medlock was convicted in this matter are $457,730.12 United

States currency.

       2.      $457,730.12 United States currency is subject to forfeiture because these funds

constitute, or were derived from, directly or indirectly, the gross proceeds traceable to the

commission of the respective offenses charged in Counts One through Thirty-Nine and the

scheme or artifice to defraud in relation to said counts.

       3.      As a result of Defendant Medlock’s act(s) or omission(s), the $457,730.12 in

proceeds obtained as a result of the offenses to which Defendant Medlock was convicted, either

cannot be located upon the exercise of due diligence; have been transferred or sold to, or

deposited with, a third party; have been placed beyond the jurisdiction of the court; have been

substantially diminished in value; or have been commingled with other property that cannot be

divided without difficulty; and as a result, pursuant to 21 U.S.C. § 853(p), as incorporated by 18

U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), the United States is entitled to forfeiture of

substitute property up to $457,730.12 United States currency.

       NOW THEREFORE, it is hereby ORDERED, ADJUDGED AND DECREED that:

       A.      An Order of Forfeiture Consisting of Money Judgments in the amount of

$457,730.12 United States currency (“Order of Forfeiture”) is hereby taken against Defendant

Medlock as to Count One through Count Thirty-Nine. Pursuant to Federal Rule of Criminal

Procedure, Rule 32.2(b)(4), the Order of Forfeiture consisting of Money Judgments shall become

final as to the Defendant at sentencing and shall be made part of the sentence and included in the



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judgment. Pursuant to Rule 32.2(c)(1), “. . . no ancillary proceeding is required to the extent that

the forfeiture consists of a money judgment.”

       B.      Defendant Medlock is jointly and severally liable with Defendant Medlock, Sr.,

for the $457,730.12 United States currency Money Judgments.

       C.      The United States may engage in discovery in the manner in which discovery is

authorized by the Federal Rules of Civil Procedure in an action or claim for a debt to identify

additional substitute assets having a value up to $457,730.12 United States currency as

authorized by Fed. R. Crim. P., Rule 32.2(b)(2)(A) and 28 U.S.C. §§ 3001(a)(1) and 3015 et seq.

       D.      The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

Order of Forfeiture consisting of $457,730.12 United States currency Money Judgments as to

Counts One through Thirty-Nine to include substitute property having a value not to exceed in

total $457,730.12 United States currency to satisfy the Money Judgments in whole or in part.

       E.      Upon payment of any Money Judgment in full, the United States shall file a

satisfaction of judgment as to all money judgments with the District Court and the appropriate

clerk of the county in which any transcript or abstracts of the judgments have been filed.

       F.      Insofar as the Order of Forfeiture is not satisfied, and a sum of money is still

owed, then Defendant shall remain personally liable pursuant to this Order of Forfeiture, which

will continue in full effect until payment of the total amount of $457,730.12 United States

currency plus statutory interest is made in full as to either money judgment.

       G.      Upon receipt of the final accounting of the net forfeiture amount in the Civil

Action, which has been returned to Medicare as restitution in the above-styled criminal case, the

United States will provide the court with said amount in the related Civil Action and this amount

will be credited against the $457,730.12 money judgments in the above-styled case.



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       H.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       IT IS SO ORDERED this               day of _________________________, 2014.




                                             TODD J. CAMPBELL
                                             United States District Judge




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